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                                   2                                 UNITED STATES DISTRICT COURT

                                   3                                NORTHERN DISTRICT OF CALIFORNIA

                                   4                                         SAN JOSE DIVISION

                                   5

                                   6    FINJAN, INC.,                                       Case No. 15-cv-03295-BLF
                                   7                   Plaintiff,
                                                                                            ORDER REGARDING RETRIAL
                                   8            v.                                          SCHEDULE
                                   9    BLUE COAT SYSTEMS, LLC,
                                  10                   Defendant.

                                  11

                                  12          On November 21, 2017, the parties held a further pre-trial conference to schedule a retrial
Northern District of California
 United States District Court




                                  13   regarding U.S. Patent Nos. 6,154,844 and 8,677,494. The schedule is summarized below.

                                  14          The Court will call a jury panel on January 3, 2018 to provide potential jurors with

                                  15   hardship and voir dire questionnaires. The parties indicated that they will waive appearance on

                                  16   that day. However, the parties shall arrange to copy the questionnaires on January 3, 2018. By

                                  17   January 5, 2018, the parties shall inform the Court regarding which jurors they jointly agree to

                                  18   excuse for cause. The Court will also advise counsel of the hardship excuses it will approve and

                                  19   allow objections. The parties shall deliver to the Court copies of the jury questionnaires and a new

                                  20   set of jury instructions and verdict form by December 21, 2017.

                                  21          On January 8, 2018, voir dire will be conducted. Once the jury is selected, the parties will

                                  22   offer opening statements limited to forty-five (45) minutes per side. The Court expects that the

                                  23   first witness will testify on the afternoon of January 8, 2018. Closing arguments will be limited to

                                  24   one (1) hour per side. The parties shall have up to ten (10) hours per side during trial.

                                  25          IT IS SO ORDERED.

                                  26   Dated: November 29, 2017

                                  27                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  28                                                    United States District Judge
